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 Attorneys for Debtor in Possession

                            UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO

  In re:                                           Case No. 22-00346-NGH

  OFF-SPEC SOLUTIONS, LLC dba COOL                 Chapter 11
  MOUNTAIN TRANSPORT,                              Subchapter V

                         Debtor.


                     DEBTOR’S RESPONSE TO MOTION TO ESTABLISH
                             PROOF OF CLAIM AS TIMELY

           The Debtor, by and through its counsel of record, JOHNSON MAY, responds to the

 Motion to Establish Proof of Claim as Timely (Docket No. 189 – the “Motion”), as follows:

    1. The Motion should not be heard on shortened time or without an evidentiary hearing.

           The Motion was filed on March 16, 2023. It was set for hearing to be heard on March 27,

 2023 at 1:30 p.m. via telephone hearing. See Doc. 192. Consequently, the Motion was filed with




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 just 11 days notice of the hearing date and time, with 4 of those days being weekend days.1

 Effectively, then, Lafferty seeks to hear the Motion on shortened time. The Debtor objects to

 shortened time for the reasons outlined.

         Additionally, the hearing date/time provided in the Notice is a telephonic hearing. The

 nature of Lafferty’s request will require either testimony or documentary evidence. The Debtor

 objects to doing an evidentiary hearing via telephone and requests the Court set the Motion for an

 in-person evidentiary hearing.



     2. In any case, the Motion is without merit and should not be granted.

         Setting aside the procedural issues related to the Motion, Lafferty cannot dispute that as of

August 19, 2022 (just 2 weeks after the Debtor’s initial petition and schedules were filed), Lafferty

was added as a creditor in this case via an Amended Schedule. See Doc. 54. Nor does Lafferty

dispute that, at that time, notice of her inclusion in the case as a creditor together with notice of the

claims bar date was provided to Lafferty via the address 282 E. Scops Owl Drive, Kuna, ID 83634.

Lafferty also appears to concede that she did live at the Kuna address within approximately a year

of the petition date.

         Indeed, at the time Lafferty was an employee of the Debtor (including the time her

employment ended), the Kuna address was her address. Based on applicable legal standards, the

Debtor’s service of the Notices in August 2022 to Lafferty’s last known address was sufficient

notice by the Debtor of the case, including the claims bar date. See, e.g., Tulsa Prof’l Collection

Servs., Inc. v. Pope, 485 U.S. 478 (1988); In re Freedom Communications Holdings, Inc., 472 B.R.

257 (Bankr. D. Del, 2012); In re Hernandez, 2017 WL 6033409 (Bankr. C.D. Cal. 2017).


 1
  Additionally, for those in the Boise area, 5 of the weekdays fall during Spring Break for Boise and West
 Ada schools, when vacations for various parties and counsel are planned.


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    3. Lafferty’s “Independent Basis” is insufficient cause to allow her claim as timely.

           Lafferty alternatively argues that even if her claim is determined to be untimely due to

 notice provided, this court should nevertheless deem it timely due to the requirement to exhaust

 administrative remedies prior to filing a lawsuit. This, however, is insufficient to have her claim

 deemed timely.

           The filing of a Proof of Claim is the first step in litigating a claim against the Debtor and

 triggers either allowance or objection to the claim. “Claim” is a term defined by the Bankruptcy

 Code to include a “right to payment, wither or not such right is reduced to judgment, liquidated,

 unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,

 secured or unsecured.” See 11 U.S.C. § 101(5) (emphasis added). At the time the claims bar date

 passed, Lafferty’s claim was unliquidated, contingent and unmatured. Nevertheless, that status

 did not prevent her from filing a Proof of Claim prior to the bar deadline.

           Further, other courts have found that exhaustion of administrative remedies is insufficient

 reason for the bankruptcy court to decline jurisdiction. See, e.g., In re Bayou Shores SNF, LLC,

 525 B.R. 160 (Bankr. M.D. Fla. 2014) (not requiring exhaustion of administrative remedies to

 dispute cancellation of Medicaid status prior to confirmation of Ch. 11 plan which preserved the

 Debtor’s Medicaid status). Consequently, Lafferty’s argument that she could not file a Proof of

 Claim until after November 28, 2022, is incorrect. The Proof of Claim could be filed and was

 required. Lafferty chose to wait until after the claims bar deadline to file her Proof of Claim. As

 a result, it was untimely filed and this court should not reward her lack of diligence by deeming it

 timely.




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        Accordingly, the Debtor requests the Court enter an Order denying the Motion.

 Alternatively, the Debtor requests the Court set an evidentiary hearing on the Motion with

 sufficient time to discover and present evidence of the Debtor’s knowledge of the claims bar date.



         DATED this 22nd day of March, 2023.
                                                     JOHNSON MAY


                                                           /s/ Matt Christensen
                                                     MATTHEW T. CHRISTENSEN
                                                     Attorney for Debtor




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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 22nd day of March, 2023, I filed the foregoing
 DEBTOR’S RESPONSE TO MOTION TO ESTABLISH PROOF OF CLAIM AS TIMELY
 electronically through the CM/ECF system, which caused the following parties to be served by
 electronic means, as more fully reflected on the Notice of Electronic Filing:

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        Any others as listed on the ECF Notice.


                                                  /s/
                                             Matthew T. Christensen




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